Case 2:18-cv-10501-DML-RSW ECF No. 46 filed 06/11/19                      PageID.443       Page 1 of 3



                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN


 AARON SMITH, individually and on behalf
 of all similarly situated individuals,

         Plaintiff,
                                                       Case No. 2:18-cv-10501-DML-RSW
                 v.
                                                       Hon. David M. Lawson
 SILVERSTAR DELIVERY, LTD.,                            Magistrate Judge R. Steven Whalen
 AMAZON.COM, LLC, and
 AMAZON.COM SERVICES, INC.,

         Defendants.



           PLAINTIFF’S UNOPPOSED MOTION TO SEAL EXHIBITS A-F OF
             NOTICE OF FILING CONSENTS TO JOIN (DOCKET NO. 37)

        Pursuant to Local Rule 5.3 and Fed. R. Civ. P. 5.2, Plaintiff Aaron Smith, on behalf of

himself and others similarly situated, hereby moves the Court to seal Exhibits A-F of Notice of

Filing Consents to Join (Dkt. No. 37). The consent to join forms filed as Exhibits A-F to Docket

No. 37 were inadvertently filed with unredacted personally identifying information, which should

have been redacted or sealed in the first instance. Pursuant to Local Rule 5.3 and Fed. R. Civ. P.

5.2, Plaintiff requests that this information be sealed to protect the privacy of the opt-in Plaintiffs.

        The undersigned counsel contacted counsel for all Defendants, who indicated that there is

no opposition to this Motion.

Dated this 11th day of June 2019.                      /s/ Laura E. Reasons
                                                       Amy E. Keller (No. P74015)
                                                       Laura E. Reasons
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Case 2:18-cv-10501-DML-RSW ECF No. 46 filed 06/11/19         PageID.444   Page 2 of 3



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                                         Counsel for Plaintiffs




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Case 2:18-cv-10501-DML-RSW ECF No. 46 filed 06/11/19                PageID.445      Page 3 of 3



                                  CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on June 11, 2019, a copy of the foregoing document

was filed electronically through the Court’s CM/ECF system which will send a notice of

electronic filing to all counsel of record.

                                              /s/ Laura E. Reasons
                                              Laura E. Reasons
                                              DICELLO LEVITT GUTZLER LLC




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